BANK OF AMERICA, N.A., successor by merger to BAC Home Loans Servicing, LP, successor by merger to Wilshire Credit Corporation, on behalf of Wilshire Mortgage Loan Trust 1997-2, Appellant, v. LAS VEGAS RENTAL AND REPAIR, LLC, SERIES 59, a Nevada limited liability company, Respondent.Bank of America, N.A., successor by merger to BAC Home Loans Servicing LP, successor by merger to Wilshire Credit Corporation, on behalf of the Wilshire Mortgage Loan Trust 1997-2, Appellant, v. Las Vegas Rental and Repair, LLC, Series 59, a Nevada limited liability company, Respondent.AFFIRMED.